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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

AARON LEE DURNING,

      Petitioner,

v.                                               Case No. 3:23-cv-7472-LC-MJF

RICKY D. DIXON,

     Respondent.
_____________________________________/

                                     ORDER

      This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated January 16, 2024. ECF No. 18. The parties were

furnished a copy of the Report and Recommendation and were afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, the Court concludes

that it should be adopted.

      Accordingly, it is ORDERED:

      1.     The Magistrate Judge’s Report and Recommendation, ECF No. 18, is

adopted and incorporated by reference in this Order.
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         2.        Respondent’s motion to dismiss, Doc. 15, is GRANTED

         3.        The amended petition for writ of habeas corpus, ECF No. 7,

challenging the judgment of conviction and sentence in State of Florida v. Aaron

Lee Durning, Escambia County Circuit Court Case No. 2015-CF-5376, is

DISMISSED with prejudice as time-barred.

         4.        A certificate of appealability is DENIED.

         5.        The Clerk of Court is directed to close the file.

         DONE AND ORDERED this 16th day of February, 2024.



                                   s/L.A. Collier
                                LACEY A. COLLIER
                                SENIOR UNITED STATES DISTRICT JUDGE




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